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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 21-07545JVS(MRWx)                                                  Date     November 16, 2021
 Title             Arelious Reed v Wells Fargo Bank, NA



 Present: The                    James V. Selna, US District Court Judge
 Honorable
                         Lisa Bredahl                                                  Not Present
                         Deputy Clerk                                                 Court Reporter


                Attorneys Present for Plaintiffs:                     Attorneys Present for Defendants:
                          Not Present                                                  Not Present
 Proceedings:           [IN CHAMBERS] ORDER TO SHOW CAUSE RE
                        DISMISSAL FOR LACK OF PROSECUTION

       The Court, on its own motion, hereby ORDERS plaintiff(s) to Show Cause (OSC) in writing
no later than December 3, 2021, why this action should not be dismissed for lack of prosecution.
As an alternative to a written response by plaintiff(s), the Court will consider the filing of one of the
following, as an appropriate response to this OSC, on or before the above date:

    X Proof of service of summons and complaint

        Absent a showing of good cause, an action shall be dismissed if the summons and complaint
have not been served upon all defendants within 90 days after the filing of the complaint. Fed. R.
Civ. P. 4(m) The Court may dismiss the action prior to the expiration of such time, however, if
plaintiff(s) has/have not diligently prosecuted the action.

       It is the plaintiff’s responsibility to respond promptly to all orders and to prosecute the action
diligently, including filing proofs of service and stipulations extending time under Rule 55 remedies
promptly upon default of any defendant. All stipulations affecting the progress of the case must be
approved by the Court. Local Rule 7-1.




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                                                               Initials of Preparer         lmb




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